                  Case 3:18-mj-01535-DEA                                    Document 40               Filed 10/25/18                  Page 1 of 1 PageID: 140
 CJA 20 APPOINTMENT Of AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL (Rev. 07/17)
 I CIR/DISTJ DIV. CODE                          2. PERSON REPRESENTED                                                            VOUCHER NUMBER
  NJX0312                                        TACQUES HALL
 3. MAG. DKT./DEF. NUMBER                                 4. DIST. DKTJDEF. NUMBER
                                                                                                                  Q
                                                                                                      5. APPEALS DKT./DEF. NUMBER                     6. OTHER DKT. NUMBER
      I 8-MJ-1 535(DEA)
 7. IN CASE/MATTER OF (Case Name)         8. PAYMENT CATEGORY                                9. TYPE PERSON REPRESENTED                       10. REPRESENTATION TYPE
                                              felony                LI Petty Offense         I’ Adult Defendant            LI Appellant            (See Instructions)
   USA V TAYLOR                           LI  Misdemeano   r        LI Other                 LI Juvenile Defendant LI Appellee
                   .                      LI  Appeal                                         LI Other
                                                                                                                                                       cc


 II. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) If more than one offense, list (up to five) major offenses charged, accotding to severity of offense.
  21 United States Code, Sections 841(a)(1) and (b)(1)(A) & 21 United States Code, Section 846.
 12. ATTORNEY’S NAME (First Name, MI., Last Name, including any suffix),                              13. COURT ORDER
     AND MAILING ADDRESS                                                                               R’ 0 Appointing Counsel                        LI C Co-Counsel
                       f\(   ,
                                                         (N’

                                                        J1’
                                                                   :

                                                                   —‘
                                                                        -                              LI F Subs For Federal Defender
                                                                                                       LI P Subs for Panel Attorney
                                                                                                                                                      U R Subs For Retained Attorney
                                                                                                                                                      LI Y Standby Counsel
                       1333          Rac                *r-cf                                       Prior Attorney’s
                       Ph,to,         p          I   1 /07                                              Appointment Dates:
                                                                                                     LI Because the above-named person represented has testified under oath or has otherwise
           Telephone Number:
                                 ‘

                                     cP   ic—   5’Le7    2.1 10                                     satisfied this Court that he or she (1) is financially unable to employ counsel and (2) does
                                                                                                    not wish to waive counsel, and because the interests of justice so require, the attorney whose
 14. NAME AND MAILING ADDRESS Of LAW FIRM (Only provide per instructions)                           name appears in Item 12 is appointed to represent this person in this case, OR
                                                                                                     LI Other (See Instruction
                                                                                                                             1
                                                                                                                         Signature of Pre din      udge or By Order of the Court

                                                                                                                ic/. /i
                                                                                                                    Date o Order                               Nunc Pro Tune Date
                                                                                                    Repayment or partial repayment ordered from the person represented for this service at time
                                                                                                    appointment.        LI YES      LI NO
                                 CLAIM      FOR SERVICES               AND EXPENSES                                                          FOR     COURT USE               ONLY


                                                                                                             TOTAL               MATH/TECH.             MATH1TECH.
            CATEGORIES (Attach itemization ofservices with dates)                       OURS                                                                                   ADDITIONAL
                                                                                                            AMOUNT                ADJUSTED               ADJUSTED
                                                                                      CLAIMED                                                                                    REVIEW
                                                                                                            CLAIMED                HOURS                 AMOUNT
15.         a. ArraignmentandlorPlea                                                                                  0.00                                         0.00
            b. Bail and Detention Hearings                                                                            0.00                                         0.00
            c. Motion Hearings                                                                                        0.00                                         0.00
            d. Trial                                                                                                  0.00                                         0.00
            e. Sentencing Hearings                                                                                    0.00                                         0.00
            f. Revocation Hearings
                                                                                                                                                                   0.00
            g. Appeals Court                                                                                          000                                          0.00
            Is. Other (Specify on additional sheets)                                                                  0.00                                         0.QQ...
        (RATEPERHOUR=$                                   ) TOTALS:                             0.00                   0.00                  0.00                   0.00
16.     a. Interviews and Conferences                                                                                 0.00                                         0.00
      t b. Obtaining and reviewing records                                                                            0.00                                         0.00
        c. Legal research and brief writing                                                                           0.00                                         0.00
  ‘     d. Travel time                                                                                                0.00                                         0.00
        e. Investigative and other work (Specify on additional sheets)                                                0.00                                         0.00
           (RATE PER HOUR = $                                ) TOTALS:                         0.00                   0.00                  0.00                   0.00
17.        Travel Expenses (lodging, parking, meals, mileage, etc.)
18.        Other Expenses (other than expert, transcripts, etc.)
GRAND TOTALS (CLAIMED AND ADJUSTED):                                                                              0.00                                             0.00
19. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE                                           20. APPOINTMENT TERIvENATION DATE                         21. CASE DISPOSITION
                                                                                                            If OTHER THAN CASE COMPLETION
       FROM:                                                 TO:
22. CLAIM STATUS                          C Final Payment          C Interim Payment Number                                       C Supplemental Payment
       Have you previously applied to the court for compensation and/or reimbursement for this case? C YES U NO               [f yes, were you paid?    U YES C NO
       Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation or anything of value) from any other source in connection with this
       tepresentation? LI YES        U NO            If yes, give details on additional sheets.
       1 swear or affirm the truth or correctness of the above statements.
       Signature of Attorney                                                                                                             Date

                                                              APPROVED FOR PAYMENT                    —   COURT USE ONLY
23. IN COURT COME.                          24. OUT OF COURT COME.           25. TRAVEL EXPENSES           26. OTHER EXPENSES                        27. TOTAL AMT. APPR./CERT.
                                                                                                                                                      $0.00
28. SIGNATURE OF THE PRESIDING JUDGE                                                                       DATE                                      28a. JUDGE CODE

29. IN COURT COME.                          30. OUT Of COURT COME.           31. TRAVEL EXPENSES           32. OTHER EXPENSES                        33. TOTAL AMT. APPROVED
                                                                                                                                                     $0.00
34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved                              DATE                                      34a. JUDGE CODE
    in excess of the statutory threshold amount.
